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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF VIRGINIA
ROANOKE DIVISION

a eos id#: 3024
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DIVIS:CN, W.D. of V

 

  

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 4:18CR00012-003

TREDARIUS JAMERIQUAN KEENE

In the presence of Charles Bledsoe and Mark Haugh, my counsel, who has fully
explained the charges contained in the indictment against me, and having received a
copy of the indictment from the United States Attorney before being called upon to plead,
| hereby plead guilty to said indictment and count(s) one and eleven thereof. | have been
advised of the maximum punishment which may be imposed by the court for this offense.
My plea of guilty is made knowingly and voluntarily and without threat of any kind or

without promises other than those disclosed here in open court.

K gore 7

Signature of Defendant

2/12) r2

Date

(pp. (Be

Witness
